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 EXHIBIT 1
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                                                                              E-FILED
                                                                              5/11/2022 11:01 AM
                                                                              Clerk of Court
               Newman, State Bar N0. 178902
     Bradford K.
                                                                              Superior Court of CA,
      bradford.newman@bakermckenzie.com
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10   Attorneys for Plaintiff
     DFINITY USA RESEARCH, LLC
11
                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
12
                                    FOR THE COUNTY OF SANTA CLARA
13

14                                                                          22CV398321
     DFINITY USA RESEARCH, LLC,                a limited       Case N0.
15   liability   company,
                                                               COMPLAINT FOR:
16                    Plaintiff,

                                                               1)   BREACH OF CONTRACT;
17           vs.
                                                               2)   CONVERSION;
18   ERIC BRAVICK, an         individual and   DOES   1
                                                               3)   VIOLATION OF CALIFORNIA
     through 100, inclusive,                                        PENAL CODE 496(c);
19                                                             4)   VIOLATION OF CALIFORNIA
                      Defendants.                                   CIVIL   CODE §   1712;   AND
20                                                             5)   UNJUST ENRICHMENT
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                                                       COMPLAINT
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                   Plaintiff DFINITY          USA Research, LLC         (“Plaintiff’ 0r      “DFINITY”) hereby         brings this

     complaint against Eric BraVick (“Defendant” 0r “Mr. Bravick”) as follows:

                                                          NATURE OF THE CASE
                   1.     This action arises out Mr. Bravick’s wrongful possession 0f and refusal t0 return

     nearly $200,000 worth 0f property belonging t0                     DFINITY,       his former employer.


                                                                    PARTIES
                   2.     Plaintiff DFINITY         USA Research, LLC is a Delaware limited liability company
     with    its   principal place 0f business in Palo Alto, California. Plaintiff is registered t0 d0 business


     in the State       0f California and,       at all relevant times,      conducted business in the State 0f California

10   by operating ofﬁces              at   411 Acacia Avenue, Palo Alto, California 94306 in Santa Clara County.

11                 3.     Defendant Eric BraVick            is   an individual   who   formerly resided in San Francisco,

12   California, but       is   now residing      in Traverse City, Michigan.


13                                                  JURISDICTION AND VENUE
14                 4.     This Court has jurisdiction t0 hear this dispute because                  it   has general subj ect matter

15   jurisdiction over          DFINITY’S claims and because             the parties selected California as the          forum with

16   exclusive jurisdiction over disputes arising from their contract.

17                 5.    Venue        is   proper pursuant t0 Code 0f Civil Procedure Section 395 because

18   DFINITY’s headquarters and principal place 0f business                          is in   Palo Alto, California, and the parties

19   selected California as the venue for disputes arising                    from   their contract.


20                 6.     This   is   a civil action wherein the amount in controversy exceeds $25,000.

21                                                   GENERAL ALLEGATIONS
22                 7.     On 0r about April         19,   2020, Defendant Eric BraVick entered into an employment

23   contract (the “C0ntract”) with               DFINITY t0        serve as a Senior Director 0f Data Center Services.              A
24   true   and correct copy 0f the Contract               is   attached hereto as Exhibit A.

25                 8.     Mr. BraVick began his employment 0n                 May 4,     2020 and, 0n 0r about August 28,

26   2020, he was promoted t0 interim Vice President 0f Engineering. At that time, Mr. Bravick

27   resided in Goleta, California, but,             upon information and belief, sometime                 in   2020 during the

28
                                                                         2
                                                                   COMPLAINT
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     COVID      outbreak, he relocated t0 Traverse City, Michigan, where he                     worked   for   DFINITY

     remotely from his residence.

             9.         During Mr. Bravick’s employment with DFINITY, the company provided him with

     company equipment (“Equipment”)                    t0 allow     him t0 perform his employment-related        duties. This


     Equipment includes, but            is   not limited   t0,   computers, servers, hard disk drives and other electronic

     storage,   and various computer and server hardware and accessories. Between October 2020 and

     July 2021,       DFINITY provided approximately                  $197,883 in Equipment t0 Mr. BraVick.

                10.     On July 23,         2021, Mr. BraVick’s employment with             DFINITY ended when DFINITY

     terminated his employment. Pursuant t0 the Contract, Mr. BraVick was required t0 return                             all


10   Company property        at the      end 0f his employment:

11                Company Property. At the end 0f your employment period, you agree t0 return
                  all   company property          including, but not limited t0, keys, ﬁles, records (and
12                copies thereof), and equipment (including, but not limited                          t0,   computer
                  hardware, software and printers, wireless handheld devices, cellular phones,
13
                  etc.)   which    your possession 0r control. You further agree t0 leave intact all
                                  is   in

14                electronic   Company documents, including those that you developed 0r help
                  develop during your employment.
15

16   (Exhibit    A at w.)
17              11.     Upon termination, DFINITY informed Mr. Bravick that he must return                        all   DFINITY
18
     property, including      all   company data and Equipment. DFINITY                     also arranged t0   have a vendor

19                                                                                home and requested Mr.
     physically retrieve the Equipment from Mr. Bravick’s                                                   Bravick’s

20   availability.      Mr. BraVick ignored         this request      and ignored DFINITY’S subsequent demands for

21   the return 0f the     company’s property and Equipment.

22              12.     Speciﬁcally, 0n October 4, 2021, the                 DFINITY Data     Center Coordinator, Chris

23
     Tarpley, contacted Mr. BraVick t0 arrange for the collection 0f the hardware from his residence.

24   Mr. BraVick refused       t0      respond t0   this request.

25              13.     On November 2,          2021,    DFINITY        again contacted Mr. BraVick and        demanded    that

26   he provide a date for DFINITY’S vendor                      t0 collect the   hardware from his data center location.

27   Mr. Bravick did not respond              t0 this   second written request.

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                                                                   COMPLAINT
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               14.     On March      30, 2022,   DFINITY reported Mr.          Bravick’s refusal t0 return the

     Equipment       t0 the Palo Alto Police     Department.     Upon   information and belief, that same day

     Ofﬁcer Eduardo Gonzales 0f the Palo Alto Police Department contacted Mr. BraVick by telephone

     regarding his refusal t0 return         DFINITY’S property and          directed   him   t0 return the     Equipment     t0


     DFINITY 0n        0r before April 29, 2022. Mr. BraVick did not comply.

               15.     On May       10, 2022, Sgt.   Aaron Sunseri 0f the Palo Alto Police Department attempted

     t0 follow-up     with Mr. BraVick by telephone. Mr. BraVick did not answer and did not return Sgt.

     Sunseri’s phone        call.


               16.     T0   date,   Mr. BraVick has not responded       t0   any 0f DFINITY’S attempts                t0 obtain the


10   Equipment and has refused            t0 return the   company’s property.

11                                              FIRST CAUSE OF ACTION

12                                                    Breach 0f Contract

13             17.     DFINITY hereby realleges and           incorporates     by reference paragraphs            1   through 16

14   inclusive as though fully set forth herein.

15             18.     On April     19,   2020, Mr. BraVick executed the Contract, which                is   a binding contract

16   between    DFINITY and Mr.           Bravick.

17             19.     Pursuant t0 the Contract, Mr. BraVick was and             is   obligated   t0,   among     other things,

18   return   all   0f DFINITY’s property upon when his employment with the company ended.

19             20.     On July 23,     2021,   DFINITY terminated Mr.          Bravick’s employment.

20             21.     Mr. BraVick has breached the Contract by refusing                t0 return the        company’s property.

21             22.     As   a result 0f Mr. Bravick’s conduct,       DFINITY has         suffered   damages from the          loss

22   0f use 0f its property.

23             23.     WHEREFORE, DFINITY prays                 for judgment against       Mr. BraVick as         set forth


24   below.

25                                             SECOND CAUSE OF ACTION
26                                                          Conversion

27                     DFINITY hereby realleges and                                                                   through 23
               24.                                            incorporates     by reference paragraphs            1


28   inclusive as though fully set forth herein.
                                                                 4
                                                            COMPLAINT
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              25.       Defendant BraVick took possession 0f and wrongfully retained DFINITY’s property

     t0   which he was not          entitled    and had n0     rightful claim.


              26.       At   all   times relevant hereto,        DFINITY was and         is   the rightful   owner 0f the

     Equipment, which was provided t0 Mr. BraVick for his use exclusively within the scope 0f his

     duties as an      employee 0f DFINITY.

              27.       Upon terminating Mr.               BraVick’s employment,       DFINITY notiﬁed Mr.           BraVick that

     he must return the Equipment and                  all   DFINITY property t0 DFINITY.              Accordingly, Mr. BraVick

     knew    0r should have             known   that the   Equipment belonged     t0   DFINITY and that he          did not have

     the right t0 retain 0r use the Equipment.


10            28.       Mr. BraVick has not returned any 0f the Equipment                      t0   DFINITY     despite   its   multiple

11   requests and, instead, has retained the Equipment without                    DFINITY’S consent             t0 its detriment.


12            29.       By intentionally and substantially interfering with DFINITY’S                         right t0 possession 0f


13   the   Equipment     that      it   rightfully   owns, Mr. BraVick has wrongfully converted the property

14   belonging t0 DFINITY.

15            30.       As   a direct and proximate result 0f Mr. BraVick’s conduct,                    DFINITY has been

16   denied the use 0f its property and has been damaged in an amount t0 be proven at                              trial,   but that

17   exceeds $197,883.

18            3   1.    WHEREFORE, DFINITY prays                      for judgment against          Mr. BraVick as   set forth


19   below.

20                                                    THIRD CAUSE OF ACTION
21                                      Civil Penalties      Under California Penal Code             496(c)

22            32.       DFINITY hereby realleges and incorporates by reference paragraphs                            1   through 31

23   inclusive as though fully set forth herein.

24            33.       Mr. BraVick has wrongfully retained possession 0f DFINITY’s Equipment, which he

25   obtained through conduct that constitutes theft and conversion under Penal Code section 496.

26            34.       At   all   relevant times, Mr. BraVick         knew   that the   Equipment belonged          t0   DFINITY
27   and   that   he n0 longer had DFINITY’S consent                 t0 use 0r retain the property.          Mr. BraVick

28   nonetheless refused t0 return the Equipment t0                   DFINITY,    despite       DFINITY’S demands           that   he d0
                                                                        5
                                                                  COMPLAINT
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     so,   and he has wrongfully retained possession 0f the Equipment knowing                           that the property    was

     stolen.


               35.    While Mr. BraVick was           in the   wrongful possession 0f DFINITY’s Equipment,

     DFINITY demanded that the Mr.                BraVick return the Equipment and/or allow                 DFINITY t0       retrieve


     the Equipment. Mr. BraVick refused              and    still   refuses t0 deliver, return 0r allow        DFINITY t0

     retrieve the    Equipment, and he has not delivered 0r returned possession 0f the Equipment, 0r any

     part thereof, t0      DFINITY.

               36.    As        a result 0f this conduct,   DFINITY has been             denied use 0f its property and has

     been damaged          in   an amount t0 be proven      at trial,   but that exceeds $197,883.

10             37.    Pursuant t0 Penal Code section 496(0),                   DFINITY     is    entitled t0 recover three times


11   the   amount 0f its        actual   damages and an award 0f reasonable              costs   and attorneys’ fees incurred      in


12   bringing this action.

13             38.    WHEREFORE, DFINITY prays                       for judgment against          Mr. BraVick as   set forth


14   below.

15                                              FOURTH CAUSE OF ACTION
16                                 Restoration 0f Property Pursuant t0 Civil Code § 1712

17             39.    DFINITY hereby realleges and                  incorporates      by reference paragraphs       1   through 38

18   inclusive as though fully set forth herein.

19             40.    Mr. BraVick has wrongfully retained possession 0f DFINITY’S Equipment without

20   DFINITY’S consent             0r with consent   by DFINITY             that   was rescinded upon     the termination 0f Mr.

21   Bravick’s employment.

22             41.    As        a direct result 0f Mr. BraVick’s conduct,            DFINITY has been        denied use 0f its

23   property and     is   entitled t0 restoration   0f that property, the return 0f its Equipment and

24   compensation for the loss 0f use 0f the Equipment during the time period the property was

25   wrongfully withheld by Mr. BraVick.

26             42.    Mr. Bravick’s acts alleged herein were                  willful,   wanton, malicious and oppressive

27   and, therefore, justify awarding exemplary damages.

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                                                              COMPLAINT
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              43.     WHEREFORE, DFINITY prays                 for judgment against   Mr. BraVick as      set forth


     below.

                                           FIFTH CAUSE OF ACTION

                                      Unjust Enrichment/Constructive Trust

              44.     DFINITY hereby realleges and            incorporate   by reference paragraphs   1   through 43

     inclusive as thought fully set forth herein.


              45.     As   a result 0f Mr. Bravick’s conduct, set forth above,        DFINITY has     lost a   ﬁnancial

     beneﬁt in the form 0f the value 0f its property, including the Equipment.

              46.     DFINITY,     as the lawful   owner 0f the property, allowed Defendant BraVick             t0 take


10   possession 0f the Equipment and use        it   t0   perform his duties for the beneﬁt 0f DFINITY as         set


11   forth in their   employer-employee relationship.

12            47.     DFINITY has had at all       times legal ownership t0 the Equipment and, upon the

13   cessation 0f the employer-employee relationship, has the right t0 the physical possession and use

14   0f the Equipment.

15            48.     An employer-employee relationship n0            longer exists between   DFINITY and
16   Defendant BraVick and Defendant BraVick retains the Equipment without the consent 0f

17   DFINITY.

18            49.     Defendant BraVick knows 0f the cessation 0f the employer-employee relationship

19   and knows he n0 longer       entitled t0 the possession 0r use      0f the Equipment.

20            50.     Defendant BraVick misappropriated the use 0f the Equipment for his              own ﬁnancial
21   gain in an amount t0 be proven at      trial,   but in excess 0f $197,883.

22            5 1.    As   a direct result 0f the foregoing conduct, Defendant BraVick has been unjustly

23   enriched in an amount t0 be proven at         trial,   but in excess 0f $197,883.

24            52.     WHEREFORE, DFINITY prays                 for judgment against   Mr. BraVick as      set forth


25   below.

26

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                                                                 7
                                                            COMPLAINT
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                                               PRAYER FOR RELIEF
              WHEREFORE,           Plaintiff DFINITY      USA Research, LLC prays for relief as follows:
              1.      For possession 0f the personal property described above              0r, if the   property cannot be

     delivered, for   its   value in an amount according t0 proof at the time 0f trial;

              2.      For compensatory damages for loss 0f use 0f the property;

              3.      For an award 0f enhanced damages, including an award 0f treble damages and

     reasonable costs 0f suit and attorneys’ fees as provided under Penal                Code   section 496;


              4.      Equitable relief in the form 0f a constructive           trust;


              5.      Any further relief as   the Court     deems just and proper.

10

11   Dated:    May    11,   2022                                BAKER & MCKENZIE LLP
12

13                                                                     MJ/ﬂm
                                                                     Bradfo‘rfd    K.   Newman
14                                                                   Christina     M. Wong
                                                                     Brandon N. Lee
15
                                                                     Attorneys for Plaintiff
16                                                                   DFINITY USA RESEARCH, LLC
17

18                                            JURY TRIAL DEMANDED
19
           Plaintiff requests trial    by jury 0n   all   issues so triable.

20

21
     Dated:    May    11,   2022                                BAKER & MCKENZIE LLP
22

23

24
                                                                        M/ﬂm
                                                                     Bradfora K.        Newman
                                                                     Christina     M. Wong
                                                                     Brandon N. Lee
25
                                                                     Attorneys for Plaintiff
26
                                                                     DFINITY USA RESEARCH, LLC
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                                                                 DFlNITY USA RESEARCH, LLC
                                                             411 Acacia Avenue, Palo Alto,         CA 94306
                                                                             April 17, 2020




             Eric BraVick
             1523 Bee Ct.
             Traverse City,        MI 49696


             Dear    Eric:


                           DFINITY USA Research, LLC                (the   “Company”)    is   pleased to offer you employment on the following
             terms:


                           1.       Position.         Your   initial title Will   be Senior Director, Data Center Services reporting to the
             President. This       is   a full-time   exempt   position, effective    May 4, 2020. Your title and reporting structure Will be
             subject to changefrom time to time at the discretion ofthe Company. While you render services to the Company,
             you Will not engage in any other employment, consulting or other business activity (Whether full-time or part-
             time) that would create a conﬂict of interest With the Company. By signing this letter agreement, you conﬁrm
             to the Company that you have no contractual commitments or other legal obligations that would prohibit you
             from performing your duties for the Company.


                           2.   Cash Compensation. The Company Will pay you a starting salary at the rate of $275,000 per
             year, payable in accordance With the     Company’s standard payroll schedule. This salary Will be subject to
             adjustment pursuant to the Company’s employee compensation policies in effect from time to time. The
             Company may also determine to award a discretionary bonus in respect ofyour services, on an annual or periodic
             basis, in the sole discretion of the Company.


                           3.  Equity Compensation. Subject to the approval of the Company’s Foundation Council, you
             Will receive 200,000 Restricted   Token Units (“RTUs”). The RTUs Will vest over a 4-year term under Which
             1/4‘1‘ ofthe RTUs Will vest after 12 months of employment and the remainder ofthe RTUs Will vest in 36 equal

             monthly installments thereafter, provided that you remain in continuous service With the Company during this
             time. If granted, any such RTU shall be subject to the provisions of the 2019 Token Plan and applicable token
             agreement.


                      4.     Employee Beneﬁts. As a regular employee ofthe Company, you Will be eligible to participate
             in anumber of Company-sponsored beneﬁts. In addition, you Will be entitled to paid time off in accordance
             With the Company’s vacation policy, as in effect from time to time.


                           5   .    Proprietary Information and Inventions and Non-Solicitation Agreements. Like all
             Company employees, you          Will be required, as a condition of your employment With the Company, to sign the
             Company’s standard Proprietary Information and Inventions Agreement, a copy of Which                            is   attached hereto as
             Exhibit A, and a standard Non-Solicitation Agreement, a copy of Which                       is   attached hereto as Exhibit B.


                     6.      Employment Relationship. Employment With the Company is for no speciﬁc period oftime.
             Your employment With the Company Will be “at Will,” meaning that either you or the Company may terminate
             your employment at any time and for any reason, With or Without cause. Any contrary representations that may
             have been made to you are superseded by this letter agreement. This is the full and complete agreement between
             you and the Company on this term. Although your job duties, title, compensation and beneﬁts, as well as the
             Company’s personnel policies and procedures, may change from time to time, the “at Will” nature of your



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             employment may only be changed                   in   an express written agreement signed by you and a duly authorized ofﬁcer
             of the          Company (other than you).

                               7.        Company Property. At the          end of your employment period, you agree         to return all   Company
             property including, but not limited              to,   keys, ﬁles, records (and copies thereof), and equipment (including, but
             not limited to, computer hardware, software and printers, Wireless handheld devices, cellular phones,                      etc.)   Which
             is    your possession or control. You further agree to leave intact all electronic
                  in                                                                                         Company documents,             including
             tho se that you developed or help develop during your employment.


                               8.        Tax Matters.

                                         (a)        Withholding.       A11 forms of compensation referred to in this letter agreement are
             subject to reduction to reﬂect applicable Withholding                  and payroll taxes and other deductions required by law.


                               (b)      Tax Advice. You are encouraged to obtain your own tax advice regarding your
             compensation from the Company. You agree that the Company does not have a duty to design its compensation
             policies in a manner that minimizes your tax liabilities, and you Will not make any claim against the Company
             or its Board of Directors related to tax liabilities arising from your compensation.


                                          1.        Interpretation,    Amendment and Enforcement.         This   letter   agreement and Exhibit    A
             supersede and replace any prior agreements, representations or understandings (Whether written, oral, implied
             or otherwise) between you and the Company and constitute the complete agreement between you and the
             Company regarding                 the subject matter set forth herein. This letter agreement   may not be amended or modiﬁed,
             except by an express written agreement signed by both you and a duly authorized ofﬁcer of the Company. The
             terms ofthis letter agreement and the resolution of any disputes as to the meaning, effect, performance or validity
             of this         letter   agreement or arising out           any way connected With, this letter agreement, your
                                                                    of, related to, or in
             employment With               the   Company                          you and the Company (the “Disputes”) Will
                                                           or any other relationship between
             be governed by California law, excluding laws relating to conﬂicts or choice of law. You and the Company
             submit to the exclusive personal jurisdiction of the federal and state courts located in California in connection
             with any Dispute or any claim related to any Dispute.

                                                                                  *****

                              We hope that you Will accept our offer to join the Company. You may indicate your agreement
             With these terms and accept this offer by signing and dating both the enclosed duplicate original of this letter
             agreement and the enclosed Conﬁdential Information and Inventions Assignment Agreement and returning them
             to   me. Thisoffer, if not accepted, Will expire two weeks from the date of this letter agreement. As required by

             law, your employment With the Company is contingent upon your providing legal proof of your identity and
             authorization to work in the United States. Your employment is also contingent upon your starting work With
             the Company on or before May 4, 2020.




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                                                                        Very     truly yours,
                                                                        DFINITY USA RESEARCH, LLC

                                                                                                      DocuSigned by:



                                                                        Signature:                I
                                                                                                      DIM     SW
                                                                        Name: Diana      Sutter

                                                                        Title:   VP of People



             I   have read and accept     this    employment   offer:



                                    DocuSigned   by:


                                  6m     braw‘ck
                                \Sigﬁmmqsmployee
                               4/19/2020
             Dated:




             Attachment(s)

             Exhibit A: Proprietary Information and Inventions Agreement
             Exhibit B: Non-Solicitation Agreement




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                                                                        EXHIBIT A

                                                            DFlNITY USA RESEARCH, LLC

                                                    INVENTION AND NON-DISCLOSURE AGREEMENT

                    This Invention and Non-Disclosure Agreement        (this “Agreement”) made on April 17, 2020, is by and
             between DFINITY          USA Research, LLC         “C0mpany”), and Eric Bravick (the “Employee”).
                                                               (the
                    In consideration of the      employment of the Employee by the Company, the Employee and the Company
             agree as follows:
                           1.      Condition of Employment. The Employee acknowledges that Employee’s employment With
             the    Company is          upon Employee’s agreement to sign and adhere to the provisions of this Agreement.
                                   contingent
             The Employee further acknowledges that the nature of the Company’s business is such that protection of its
             proprietary and conﬁdential information is critical to the survival and success of the Company’s business.


                           2.      Proprietarv and Conﬁdential Information.


                                   (a)       The Employee agrees        that all information   and know-how, Whether or not         in writing,
             of a private, secret or conﬁdential nature concerning the Company’s business or ﬁnancial affairs (collectively,
             “Proprietary Information”) is and shall be the exclusive property ofthe Company. By way of illustration, but
             not     limitation,   Proprietary      Information   may    include   discoveries,    ideas,    inventions,   products,   product
             improvements, product enhancements, processes, methods, techniques, formulas, compositions, compounds,
             negotiation strategies and positions, projects, developments, plans (including business and marketing plans),
             research data, clinical data, ﬁnancial data (including sales costs, proﬁts, pricing methods), personnel data,
             computer programs (including software used pursuant to a license agreement), customer, prospect and supplier
             lists, and contacts at or knowledge of customers or prospective customers of the Company. The Employee shall

             not disclose and shall hereby not disclose any Proprietary Information to any person or entity other than
             employees of the Company or use the same for any purposes (other than in the performance of Employee’s
             duties as an employee ofthe Company) Without written approval by an ofﬁcer ofthe Company, either during or
             after Employee’s employment With the Company, unless and until such Proprietary Information has become
             public knowledge Without fault by the Employee. While employed by the Company, the Employee shall use
             and shall hereby use the Employee's best efforts to prevent unauthorized publication or disclosure of any of the
             Company’s Proprietary Information.

                                   (b)       The Employee agrees        that all ﬁles,   documents,   letters,   memoranda,   reports, records,
             data, sketches, drawings,          models, laboratory notebooks, program          listings,   computer equipment or devices,
             computer programs or other written, photographic, or other tangible or intangible material containing Proprietary
             Information, Whether created   by the Employee or others, Which come into Employee’s custody or possession,
             shall be and are the exclusive property of the Company to be used by the Employee only in the performance of
             Employee’s duties for the Company and shall not be copied or removed from the Company premises except in
             the pursuit ofthe business of the Company. A11 such materials or copies thereof and all tangible property of the
             Company in the custody or possession of the Employee shall be delivered to the Company, upon the earlier of
             (i) a request by the Company or (ii) termination of Employee’s employment for any reason. After such delivery,

             the    Employee     shall not retain   any such materials or copies thereof or any such tangible property.




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                               (c)     The Employee agrees that Employee’s obligation not to disclose or to use information
             and materials  of the types set forth in paragraphs 2(a) and 2(b) above, and Employee’s obligation to return
             materials and tangible property, set forth in paragraph 2(b) above, also extends to such types of information,
             materials and tangible property of customers of the Company or suppliers to the Company or other third parties
             Who may have              disclosed or entrusted the   same   to the       Company     or to the   Employee       in the course     of the
             Company’s          business.


                           3.          Developments.


                                       (a)     The Employee has attached hereto,           as Exhibit   A, a list describing   all   discoveries, ideas,
             inventions, improvements, enhancements, processes, methods, techniques, developments, software,    and works
             of authorship, Whether patentable or not, Which were created, made, conceived or reduced to practice by the
             Employee prior to the Employee’s employment by the Company and Which are owned by Employee, Which
             relate directly or indirectly to the current or anticipated ﬁlture business of the Company, and Which are not
             assigned to the Company hereunder (collectively, “Prior Developments”); or, if no such list is attached,
             Employee represents that there are no Prior Developments. If applicable, the Employee agrees to return the
             competed list Within ﬁve (5) business days from the day the Employee is presented With this Agreement.
             Employee agrees not to incorporate any Prior Developments into any Company product, material, process or
             service Without prior written consent of an ofﬁcer of the Company. If Employee does incorporate any Prior
             Development into any Company product, material, process or service, Employee hereby grants to the Company
             a non-exclusive, worldwide, perpetual, transferable, irrevocable, royalty-free, fully-paid right and license to
             make, have made, use, offer for sale, sell, import, reproduce, modify, prepare derivative works, display, perform,
                               and otherwise exploit such Prior Development and to practice any method related thereto.
             transmit, distribute


                                       (b)     The Employee    shall   make and         shall   hereby make   full   and prompt disclosure       to the
             Company of          all   discoveries, ideas, inventions, improvements, enhancements, processes, methods, techniques,
             developments, software, and works of authorship, Whether patentable or not, Which are created, made, conceived
             or reduced to practice  by Employee or under Employee’s direction or jointly With others during Employee’s
             employment by the Company, Whether or not during normal working hours or on the premises of the Company
             (all of Which are collectively referred to in this Agreement as “Developments”). The Employee acknowledges

             that each original work of authorship Which is made by the Employee (solely or jointly With others) Within the
             scope of and during the period of Employee’s employment With the Company and Which is protectable by
             copyright is a “work made for hire,” as that term is deﬁned in the United States Copyright Act. The Employee
             agrees to assign and does hereby assign to the Company (or any person or entity designated by the Company)
             all Employee’s right, title and interest in and to all Developments (other than Prior Developments listed on

             Exhibit A, if any) and all related patents, patent applications, copyrights and copyright applications to the
             maximum extent permitted by Section 2870 of the California Labor Code. The Employee understands that the
             provisions of this Agreement requiring assignment of Developments to the Company do not apply to any
             invention Which qualiﬁes fully under the provisions of California Labor Code Section 2870 (attached hereto as
             Exhibit B). The Employee also hereby waives all claims to moral rights in any Developments.


                               (c)     The Employee agrees to cooperate fully With the Company, both during and after
             Employee’s employment With the Company, With respect to the procurement, maintenance and enforcement of
             copyrights, patents and other intellectual property rights (both in the United States and foreign countries) relating
             to Developments. The Employee shall sign all papers, including, Without limitation, copyright applications,
             patent applications, declarations, oaths, formal assignments, assignments of priority rights, and powers of
             attorney, Which the Company may deem necessary or desirable in order to protect its rights and interests in any
             Development. The Employee further agrees that if the Company is unable, aﬁer reasonable effort, to secure the
             signature ofthe Employee on any such papers, any executive ofﬁcer of the Company shall be entitled to execute
             any such papers as the agent and the attorney-in-fact of the Employee, and the Employee hereby irrevocably
             designates and appoints each executive ofﬁcer of the Company as Employee’s agent and attorney-in-fact to
             execute any such papers on Employee’s behalf, and to take any and all actions as the Company may deem




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             necessary or desirable in order to protect              its   rights   and   interests in   any Development, under the conditions
             described in this sentence.


                           4.       Obligations to Third Parties.            The Employee represents          that,   except as the Employee has
             disclosed in writing to the         Company on        Exhibit   A attached hereto, the Employee
                                                                                                 not bound by the terms of
                                                                                                                      is

             any agreement With any previous employer or other party to refrain from using or disclosing any trade secret or
             conﬁdential or proprietary information in the course of Employee’s employment With the Company, to refrain
             from competing, directly or indirectly, With the business of such previous employer or any other party or to
             refrain from soliciting employees, customers or suppliers of such previous employer or other party.        The
             Employee further represents that Employee’s performance of all the terms of this Agreement and the
             performance of Employee’s duties as an employee of the Company do not and Will not conﬂict With or breach
             any agreement With any prior employer or other party (including, Without limitation, any nondisclosure or non-
             competition agreement), and that the Employee shall not and shall hereby not disclose to the Company or induce
             the Company to use any conﬁdential or proprietary information or material belonging to any previous employer
             or others.


                      5.       Scope of Disclosure Restrictions. Nothing in this Agreement or elsewhere prohibits the
             Employee from reporting possible Violations of state or federal law or regulation to any government agency,
             regulator, or legal authority, or making other disclosures that are protected under the Whistleblower provisions
             of state or federal law or regulation. The Employee is not required to notify the Company that the Employee
             has    made any such       reports or disclosures; provided, however, that nothing herein authorizes the disclosure of
             information the Employee obtained through a communication that                        was    subject to the attorney-client privilege,
             unless disclosure ofthe information would otherwise be permitted by an applicable law or rule. Further, pursuant
             to the Defend Trade Secrets Act: “An individual shall not be held criminally or civilly liable under any Federal
             or State trade secret law for the disclosure of a trade secret [as deﬁned in the Economic Espionage Act] that (A)
             is made (i) in conﬁdence to a Federal, State, or local government ofﬁcial, either directly or indirectly, or to an

             attorney; and (ii) solely for the purpose of reporting or investigating a suspected Violation of law; or (B) is made
             in a complaint or other document ﬁled in a lawsuit or other proceeding, if such ﬁling is made under seal. An
             individual Who files a lawsuit for retaliation by an employer for reporting a suspected Violation of law may
             disclose the trade secret to the attorney of the individual and use the trade secret information in the court
             proceeding, if the individual (A) ﬁles any document containing the trade secret under seal; and (B) does not
             disclose the trade secret, except pursuant to court order.”


                           6.       United States Government Obligations. The Employee acknowledges that the Company from
             time to time       may have agreements With other persons or With the United States Government, or agencies thereof,
             Which impose obligations or            restrictions   on the Company regarding inventions made during the course of work
             under such agreements or regarding the conﬁdential nature of such work. The Employee agrees to be bound by
             all such obligations and restrictions Which are made known to the Employee and to take all action necessary to

             discharge the obligations ofthe Company under such agreements.


                           7.       Miscellaneous.


                              (a)     Equitable Remedies. The Employee acknowledges that the restrictions contained in
             thisAgreement are necessary for the protection ofthe business and goodwill of the Company and are considered
             by the Employee to be reasonable for such purpose. The Employee agrees that any breach or threatened breach
             of this Agreement is likely to cause the Company substantial and irrevocable damage Which is difﬁcult to
             measure. Therefore, in the event of any such breach or threatened breach, the Employee agrees that the
             Company, in addition to such other remedies Which may be available, shall have the right to obtain an injunction
             from a court restraining such a breach or threatened breach Without posting a bond and the right to speciﬁc
             performance of the provisions of this Agreement and the Employee hereby waives the adequacy of a remedy at
             law as a defense      to   such   relief.




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                                   (b)       Disclosure ofthis Agreement. The Employee hereby authorizes the                  Company to notify
             others, including but not limited to customers              of the   Company and any of the Employee’s          future employers or
             prospective business associates, of the terms and existence of this Agreement and the Employee’s continuing
             obligations to the     Company hereunder.

                                   (c)       Not Employment         Contract.      The Employee acknowledges         that this   Agreement does
             not constitute a contract of employment, does not imply that the               Company Will continue Employee’ s employment
             for   any period of time and does not change the            at-Will nature   of Employee’s employment.


                                   (d)       Successors and Assigns. This Agreement shall be binding upon and inure to the beneﬁt
             of both parties and their respective successors and assigns, including any corporation With Which, or into which,
             the Company may be merged or Which may succeed to the Company’s assets or business, provided, however,
             that the obligations        of the Employee are personal and shall not be assigned by Employee. The Employee
             expressly consents to be         bound by the provisions of this Agreement for the beneﬁt of the Company or any
             subsidiary or afﬁliate thereof to        Whose employ       the   Employee may be       transferred Without the necessity that this
             Agreement be re-signed         at the   time of such transfer.


                                   (e)       Severability.     In case any provision of this           Agreement   shall   be invalid,     illegal or
             otherwise unenforceable, the validity, legality and enforceability of the remaining provisions shall in no                      way be
             affected or impaired thereby.


                                   (f)       Waivers.     No   delay or omission by the           Company   in exercising    any   right   under   this
             Agreement        Will operate as a waiver of that or any other right.           A waiver or consent given by the Company on
             any one occasion is effective only in that instance and Will not be construed as a bar                to or   waiver of any right on
             any other occasion.


                                   (g)       Governing Law. This Agreement                shall   be governed by and construed in accordance
             With the laws of the State of California (Without reference to the conﬂicts of laws provisions thereof).                              Any
             action, suit, or other legal proceeding      commenced to resolve any matter arising under or relating to any
                                                            Which   is

             provision of this Agreement shall be commenced only in a court of the State of California (or, if appropriate, a
             federal court located Within the Northern District of California), and the Company and the Employee each
             consents to the jurisdiction of such a court.


                                   G1)                     Amendment. This Agreement supersedes all prior agreements,
                                             Entire Agreement;
             written or oral, between theEmployee and the Company relating to the subject matter of this Agreement. This
             Agreement may not be modiﬁed, changed or discharged in Whole or in part, except by an agreement in writing
             signed by the Employee and the Company. The Employee agrees that any change or changes in Employee’s
             duties, salary or compensation after the signing of this Agreement shall not affect the validity or scope of this
             Agreement.


                                   (i)       Captions.     The captions of         the sections of this    Agreement are for convenience of
             reference only and in no       way deﬁne,     limit or affect the scope or substance         of any section of this Agreement.




                                                                [Remainder of Page Intentionally Left Blank]




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                    IN         WITNESS WHEREOF,            the parties hereto have executed the Invention and Non—Disclosure
             Agreement        as ofthe date   and year ﬁrst above written.



                                                                             COMPANY:
                                                                             DFINITY USA RESEARCH, LLC
                                                                                              DocuSigned   by:



                                                                             By:
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                                                                                              102C567c3c0F-tan...


                                                                                      Diana Sutter
                                                                             Name:




                                                                             EMPLOYEE:
                                                                                        DocuSigned     by:



                                                                             By;       ﬁat brand:
                                                                                     LBOMGZBFESAZML,
                                                                                       Er'i   c Br'aV'i ck
                                                                             Name:




                                SIGNATURE PAGE TO INVENTION AND NON—DISCLOSURE AGREEMENT
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                                                                    EXHIBIT    A
                               LIST 0F PRIOR INVENTIONS AND ORIGINAL WORKS 0F AUTHORSHIP EXCLUDED
                              UNDER SECTION 3(A) 0R CONFLICTING AGREEMENTS DISCLOSED UNDER SECTION 4


             Title                 Date                              Identifying   Number   or Brief Description




             Except as indicated above on this Exhibit A, I have no Prior Developments to disclose pursuant to Section 3(a)
             ofthis Agreement and n0 agreements t0 disclose pursuant to Section 4 0f this Agreement.




                                                                         EMPLOYEE:
                                                                                               DocuSinned   by:


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                                                                                        Er'i   c Br'aV'i ck
                                                                         Name:




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                                                                         EXHIBIT     B

                                                        CALIFORNIA LABOR CODE SECTION 2870

                                            INVENTION 0N     OWN TIME — EXEMPTION FROM AGREEMENT
             THIS     IS   TO NOTIFY EMPLOYEE,            in accordance   With Section 2872 of the California Labor Code,            that:



                    a)     Any provision  in an employment agreement Which provides that an employee shall assign, or offer to

                           assign,any of his or her rights in an invention to his or her employer shall not apply to an invention that
                           the employee developed entirely on his or her own time Without using the employer’s equipment,
                           supplies, facilities, or trade secret information except for those inventions that either:


                                (1)   Relate at the time of conception or reduction to practice of the invention to the employer’s
                                      business, or actual or demonstrably anticipated research or development of the employer, or


                                (2)   Result from any   work performed by the employee         for his or her employer.


                    b)     To   the extent a provision in an   employment agreement purports          to require   an employee to assign an
                           invention otherwise excluded from being required to be assigned under subdivision              (a),   the provision   is

                           against the public policy of this state and   is   unenforceable.


             The foregoing limited exclusion does not apply to any patent or invention covered by a contract between the
             Company and the United States or any of its agencies requiring full title to such patent or invention to be in the
             United       States.




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                                                                    EXHIBIT B

                                                        DFINITY USA RESEARCH, LLC

                                                        NON-SOLICITATION AGREEMENT

                    This Non-Solicitation Agreement  “Agreement”) made 0n April 17, 2020 is by and between
                                                            (this
             DFINITY USA Research, LLC, a Delaware limited liability company (the “C0mpany”), and Eric Bravick
             (the “Employee”).   For good consideration and in consideration 0f the employment 0r continued
             employment 0f the Employee by the Company, the Employee and the Company agree as follows:

                           1.         Non-Solicitation. While the   Employee        is   employed by the Company and       for a period 0f
             twenty-four (24) months after the termination 0r cessation 0f such employment for any reason, the
             Employee Will not directly 0r indirectly, either alone 0r in association With others (i) solicit, induce 0r
             attempt t0 induce, any employee 0r independent contractor 0f the                        Company      t0 terminate his 0r her
             employment 0r other engagement With the Company, 0r (ii) recruit 0r attempt t0 recruit any person Who is
             employed 0r otherwise engaged by the Company. If the Employee violates the provisions 0f this Section 1,
             the Employee shall continue t0 be bound by the restrictions set forth in this Section 1 until a period 0f
             twenty-four months has expired Without any Violation 0f such provisions.


                           2.         Miscellaneous.


                               (a)     Equitable Remedies. The Employee acknowledges that the restrictions contained
             in this Agreement are necessary for the protection 0f the business and goodwill 0f the Company and are
             considered by the Employee t0 be reasonable for such purpose. The Employee agrees that any breach 0r
             threatened breach 0f this Agreement is likely t0 cause the Company substantial and irrevocable damage
             Which is difﬁcult t0 measure. Therefore, in the event 0f any such breach 0r threatened breach, the Employee
             agrees that the Company, in addition t0 such other remedies Which may be available, shall have the right t0
             obtain an injunction from a court restraining such a breach 0r threatened breach Without posting a bond and
             the right t0 spec iﬁc performance 0f the provisions 0f this Agreement and the Employee hereby waives the
             adequacy 0f a remedy at law as a defense t0 such relief.


                                      (b)                              The Employee represents that, except as the
                                             Obligations t0 Third Parties.
             Employee has disclosed                        Company, the Employee is not bound by the terms 0f any
                                               in writing t0 the
             agreement With any previous employer 0r other party t0 refrain from competing, directly 0r indirectly, With
             the business 0f such previous employer 0r any other party, 0r t0 refrain from soliciting employees,
             customers 0r suppliers 0f such previous employer 0r other party. The Employee further represents that
             his/her performance of all the terms 0fthis Agreement and the performance 0f his/her duties as an employee
             0f the Company does not and Will not conﬂict With 0r breach any agreement With any prior employer or
             other party (including, Without limitation, any non-competition agreement).


                                      (c)    Disclosure 0f this Agreement.               For a period 0f twenty-four months         after the
             termination 0r cessation 0f the Employee’s employment for any reason, the Employee agrees t0 notify any
                                  employer 0r prospective business associate, 0f the terms and existence 0f
             potential, prospective                                                                                                      this
             Agreement and the Employee’s continuing obligations t0 the Company hereunder.

                                      (d)    Not Employment Contract.           The Employee acknowledges            that this   Agreement
             does not constitute a contract 0f employment, does not imply that the                         Company   Will continue his/her
             employment         for   any period 0f time and does not change the          at-Will nature   0f his/her employment.




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                             (e)     Successors and Assigns. This Agreement shall be binding upon and inure t0 the
             beneﬁt 0f both parties and their respective successors and assigns, including any corporation With Which,
             or into Which, the          Company may be merged          0r Which      may      succeed t0 the Company’s assets 0r business,
             provided, however, that the obligations 0f the               Employee are personal and shall not be assigned by him 0r
             her.    The Employee expressly consents            t0 be   bound by the provisions 0f this Agreement for the beneﬁt 0f
             the    Company       0r any subsidiary 0r afﬁliate         thereof t0 Whose employ the Employee may be transferred
             Without the necessity that this Agreement be re-signed                   at the   time 0f such transfer.


                             (f)      Integpretation. If any restriction set forth in Section 1 is found by any court 0f
             competent jurisdiction t0 be unenforceable because it extends for too long a period 0f time 0r over too great
             a range 0f activities 0r in too broad a geographic area, it shall be interpreted t0 extend only over the
             maximum period 0f time,           range 0f activities 0r geographic area as t0 Which             it   may be   enforceable.


                                   (g)        Severabili‘gy.   In case any provision 0f this Agreement shall be invalid, illegal or
             otherwise unenforceable, the validity, legality and enforceability of the remaining provisions shall in no
             way be affected 0r          impaired thereby.


                              01)     Waivers. N0 delay 0r omission by the Company in exercising any right under this
             Agreement Will operate as a waiver 0f that 0r any other right. A waiver 0r consent given by the Company
             0n any one occasion is effective only in that instance and Will not be construed as a bar t0 0r waiver 0f any
             right on any other occasion.


                                   (i)        Governing Law.            This Agreement shall be governed by and construed in
             accordance With the laws 0f the State 0f California (Without reference t0 the conﬂicts 0f laws provisions
             thereof). Any action, suit, 0r other legal proceeding Which is commenced t0 resolve any matter arising
             under or relating t0 any provision 0f this Agreement shall be commenced only in a court 0f the State 0f
             California (0r, if appropriate, a federal court located Within the Northern District 0f California), and the
             Company and the Employee each              consents t0 the jurisdiction 0f such a court.


                                   (j)                   Amendment. This Agreement supersedes all prior agreements,
                                              Entire Agreement;
             written 0r oral, between the Employee and the Company relating t0 the subj ect matter 0f this Agreement.
             This Agreement may not be modiﬁed, changed 0r discharged in Whole 0r in part, except by an agreement
             in writing signed by the Employee and the Company. The Employee agrees that any change 0r changes in
             his/her duties, salary 0r compensation after the signing 0f this Agreement shall not affect the validity 0r
             scope 0f this Agreement.


                                   00         Captions. The captions 0f the sections 0f this Agreement are for convenience 0f
             reference only and in         n0 way deﬁne, limit 0r affect the scope 0r substance 0f any section 0fthis Agreement.

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                                            IN    WITNESS WHEREOF,           the parties hereto have executed the Non-Solicitation
             Agreement         as of the date   and year ﬁrst above   written.




                                                                             COMPANY:
                                                                             DFINITY USA RESEARCH, LLC
                                                                                               DocuSigned   by:


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                                                                                        Diana Sutter
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                                                                                       LBOMSZBFEBAZ4O1

                                                                                        Eric Bravick
                                                                             Name:




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